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 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
                             WESTERN DIVISION
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12   SAN ANTONIO WINERY, INC., a           )   Case No. 2:15-cv-08826-AB-Ex
                                           )
     California corporation,               )
13
                                           )   Hon. André Birotte Jr.
14                Plaintiff,               )
           v.                              )
                                           )   [PROPOSED] ORDER FOR
15
                                           )   DISMISSAL
16   UVE Enterprises, Inc., a California )
     Corporation dba Tenuta Sant’Antonio )     Complaint Filed: 11/12/2015
17                                         )
     USA; Tenuta Sant’Antonio, Armando )
18   Castagnedi, Massimo Castagnedi,       )
     Paolo Castagnedi, Tiziano Castagnedi, )
19                                         )
     an Italian Partnership; and Chambers )
20   & Chambers Inc, a California          )
     Corporation and DOES 1-10,            )
21                                         )
     inclusive,                            )
22                Defendants.              )
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 1         The Court, having reviewed the Joint Request to Dismiss, as submitted by
 2 and between Plaintiff San Antonio Winery, Inc. (“Plaintiff”) and Defendants UVE
 3 Enterprises, Inc., Tenuta Sant’ Antonio, an Italian partnership, and Chambers &
 4 Chambers, Inc., (“Defendants”), hereby GRANTS the Joint Request to Dismiss.
 5         It is hereby ORDERED, ADJUDGED AND DECREED that:
 6 all claims and potential claims Plaintiff has or may have against Defendants that
 7 were or could have been asserted in this action are hereby DISMISSED WITH
 8 PREJUDICE; and each party shall bear its own costs and attorney fees. The Court
 9 shall retain jurisdiction to enforce the Settlement Agreement between the parties.
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11 IT IS SO ORDERED.
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15 Dated: August 12, 2016           By:   _________________________
                                          Hon. André Birotte Jr.
16
                                          United States District Judge
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